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                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                          CRIMINAL ACTION

VERSUS                                            NO: 05-186

KERRY DE CAY                                      SECTION: "J” (1)
STANFORD BARRÉ
REGINALD WALKER
JULIUS LIPS, JR.



                           ORDER AND REASONS

     Before the Court is the Motion to Dismiss Certain

Allegations Contained in the Superceding Indictment and Suppress

All Evidence in Connection with the Newly Obtained Evidence (Rec.

Doc. 172).   This motion was opposed by the Government and was set

for hearing for hearing on November 22, 2006.          This Court

determined that a formal hearing on this motion is not necessary

and therefore addresses it on the briefs alone.          For the reasons

that follow, the Court finds that this motion should be denied.

THE PARTIES' ARGUMENTS

     Defendant Stanford Barré requests that this Court dismiss

certain allegations contained in the superceding indictment and

suppress all evidence obtained by the new grand jury subpoenas.

Defendant claims the Government improperly used a new grand jury

as a discovery tool to subpoena new documents to strengthen its

case, wherein an indictment was already pending.           Defendant
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argues that there are new allegations in the superceding

indictment (see Defendant’s motion, pp. 2-3) that are based on

these new documents (see documents attached to Defendant’s

motion), which were received by Defendants on October 13, 2006.

     In opposition, the Government claims that there was no abuse

of the grand jury process as the grand jury was pursuing

additional allegations and crimes that were not included in the

original indictment.    The Government also points out that

Defendant is mistaken when he asserts that the State Police

records and certain golf records were obtained through subpoenas

issued for the superceding indictment.

DISCUSSION

     It is not proper for the Government to use a grand jury to

prepare an already pending indictment for trial.           Beverly v.

United States, 468 F.2d 732, 743 (5th Cir. 1972). It is also an

improper use of the grand jury to use it as a substitute for

discovery. Id.   Therefore, after an indictment is returned, the

grand jury's investigative role generally ceases.

     However, a grand jury may continue to investigate an

indicted defendant if that investigation is for a purpose other

than to discover evidence relating to the charges in the pending

indictment.   United States v. Tolliver, 61 F.3d 1189, 1198 (5th

Cir. 1995), cert. granted and judgment vacated on other grounds,

116 S. Ct. 900 (1996).     Courts have determined that it is

legitimate for the Government to explore the possibility of
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filing additional charges against the same defendant.            United

States v. Phibbs, 999 F.2d 1053, 1077 (6th Cir. 1993) (the

Government could use its subpoena power as part of ongoing, post-

indictment investigation that could lead to further charges);

United States v. Badger, 983 F.2d 1443, 1458 (7th Cir. 1993) (it

is not improper for the Government to use its subpoena power

post-indictment to bring charges in a superseding indictment);

United States v. Crosland, 821 F. Supp. 1123, 1127–28 (E.D. Va.

1993) (not improper for Government to continue to use grand jury

subpoena power after indictment to pursue additional criminal

charges against defendant).      If the Government obtains evidence

that is relevant to the pending case in the course of such

investigative efforts, it is not improper for it to use that

evidence at trial. United States v. Ruppel, 666 F.2d 261, 267–68

(5th Cir. 1982); United States v. Beasley, 550 F.2d 261, 266 (5th

Cir. 1977).   Last, "t]he grand jury process is entitled to a

presumption of regularity which is not easily overcome."

Tolliver, 61 F.3d at 1198.

     Here, the Government has explained that many of the

documents at issue were not obtained through the use of post-

indictment subpoenas. Further, this Court concludes that the

documents that were obtained in such a manner were properly

obtained by the Government in its legitimate quest to explore the

possibility of filing additional charges against Defendant.

Thus, it is not improper for the Government to use evidence at
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trial that it obtained in the course of its investigative

efforts.   Accordingly,

     IT IS ORDERED that the Motion to Dismiss Certain Allegations

Contained in the Superceding Indictment and Suppress All Evidence

in Connection with the Newly Obtained Evidence (Rec. Doc. 172)

should be and hereby is DENIED.

     New Orleans, Louisiana this 13th day of November, 2006.



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                                  CARL J. BARBIER
                                  UNITED STATES DISTRICT JUDGE
